                                                                                                                EXHIBIT




                                                                                                                                 exhibitsticker.com
                             Non-Rep Employee Evaluation                                                               D


Employee Name:_T_od_ct_w_o_lf________

Position Title:_C_ity_A.....d_m_in_is_tr_at_o_r- - - - - -

Department: City Management

S.T.A.l.R.S. Approach
S.T.A.l.R.S. aligns with the City of Sheboygan's core values of service, teamwork,
accountability, innbvation, respect, and stewardship (fiscal responsibility).                 I/)
                                                                                              c:      I/)
                                                                                                             -c<!):
                                                                                                              E
                                                                                                              c..
                                                                                              0       c:      0

                                                                                             - --                     -
                                                                                             :;:::    0
Check the appropriate rating column.                                                          11:1   :;:::   Qi        i::'
                                                                                              (,,)    11:1   ><!)      0
                                                                                              <!).    (,,)   c         (,,)
                                                                                              c..
                                                                                             ><
                                                                                                      <!)
                                                                                                      c..     ...     ~
                                                                                             w
                                                                                                     w><     ....0     I/)
                                                                                                                      :;:::
       Exceeds                  Meets                 Opportunity for                         I/)
                                                                                                             -~
                                                                                                                      ·11:1
                                                                        Unsatisfactory (1)   'C      $<!)    '2
                                                                                                                       I/)
                                                                                                                        c:
  Expectations (4)          Expectations (3)          Development (2)                        .<!)
                                                                                              <!)                     ::::>
                                                                                                      <!l.   ::J
                                                                                              (,,)
     Consistently                                                                            ><      :iii    t::
                                                      Working toward      Not meet role      w                0
   performs above          Competent in role                                                                  c..
                                                       competency         requirements                        c..
  role requirements                                                                                          0




  Knowledge of Work:
  Familiarit With ·ob skills,
  Public Service Skills:
                                                                                             IZIDD D
  Demonstrates Honesty, tact, courtesy, awareness of & sensitivity to customer
  needs
                                                                                             [{JD DD
  Internal Service Skills:
  Demonstrates Honesty, tact, courtesy, awareness of & sensitivity to coworker
  needs
                                                                                             00 DD
  Diversity:
  Treats all individuals fairly and respectfully, regardless of their values, beliefs,
  back round, pbsition, or status
                                                                                             D!ZJDD
Comments:
Todd understands the service component of his job. He has a great understanding of his role and
responsibility. Todd is beginning to take the steps to further grow and expand his knowledge in
diversity and how we can do more.



  Collaboration: Works with and assists others to achieve departmental and
  or anizational oals and priorities
  Communication Skills: Articulate in expressing facts, ideas, & thoughts with clarity
                                                                                             [ZJDD D
  both oral! and in writin
  Cooperation: Cooperates with coworkers to ensure alignment with departmental
                                                                                             [{JOO D
  and or anizational oals                                                                    0DD D
  Trust Building: Shares information and knowledge readily coworkers and
  su ervisors                                                                                [{]DOD
Comments:
Todd is a great team player and more importantly he is a team leader. Todd knows how to
collaborate and work towards achieving collective goals.              ·




S:\All Users\Human Resources\Forms\Employee Evaluation\Evaluation- Working Document2020.pdf                           HREV-101
                          Non-Rep Employee Evaluation
S.T.A.l.R~S.       Approach                                                                                       ....c:
                                                                                                                   (1)

Check the appropriate rating column.                                                          th
                                                                                              s::                  E
                                                                                              0
                                                                                                          th
                                                                                                          c:       c..
                                                                                            :;:::;                 0
                                                                                                          0                 ~

                                                                                                         -
                                                                                                                  (ii


       Exceeds               Meets              Opportunity for
                                                                    Unsatisfactory (1)
                                                                                            .....nst.)
                                                                                              Cl)
                                                                                            c..
                                                                                            ><
                                                                                                         :;:::;
                                                                                                          ns
                                                                                                          t.)
                                                                                                          (1)
                                                                                                         c..
                                                                                                                  0
                                                                                                                   >
                                                                                                                   (1)

                                                                                                                   ...     -()
                                                                                                                            ()
                                                                                                                           J!!
                                                                                                                            th
  Expectations (4)       Expectations (3)       Development (2)                             w            ><
                                                                                                         w
                                                                                                                  .E       :;:::;
                                                                                                                            ns
     Consistently
   performs above
  role requirements
                         Competent in role
                                                Working toward
                                                 competency
                                                                       Not meet role
                                                                       requirements
                                                                                             th
                                                                                            "O


                                                                                            ><
                                                                                              (1)
                                                                                              Cl)
                                                                                              t.)
                                                                                                         -th
                                                                                                          (1)
                                                                                                          (1)
                                                                                                                  ~
                                                                                                                  s::
                                                                                                                  .::I
                                                                                                                  t::
                                                                                                                   0
                                                                                                                            I/I
                                                                                                                            s::
                                                                                                                           ::>
                                                                                            w            ==       c..
                                                                                                                  a.
                                                                                                                  0


   Ownership:
   Responsible for the results of one's actions to ensure they are of the highest quality
   and are delivered in a time! manner
   Meeting Work Commitments:
   Plans work, meets commitments & deadlines, achieves desired results
   Flexibility/Adaptability:
                                                                                            00 DD
   Responds and adapts to changing situations; policies, practices, stress, and
   emer encies
                                                                                            0000
 Comments:
Todd sets a high standard when it comes to accountability. Ensuring that work is being done and
task are being assigned properly.




                                                                                            0000
  Initiative:
  Self-motivated & makes effort to com lete work with minimal supervision                   [{]00 D
  Problem Solving:
  Generates efficient approaches to addressing,problems and opportunities and
  makes sound decisions after reviewin all relevant information
  Technology:
  Demonstrates ability to use technology effectively and productively and continually
  u dates skills and knowled e
                                                                                            [ZlDD D
Comments:
Todd is the strong.est advocate in the city for innovation. Todd knows thatwe need new
technology to be more effective in the city.



   Attendance:
 . Punctual to work, to meetin s, and from breaks; does not abuse leave time
   Attitude:
   Has "can-do" a roach and strives to maintain an o timistic outlook
   Safety Consciousness:
   Acts with ro er safet habits, maintains equipment, corrects unsafe conditions
Comments:
Todd brings great energy to city hall, and goes above and beyond when taking on projects at city
hall.
Todd needs to make sure he is taking time off to avoid burnout.


S:\All Users\Human Resources\Forms\Employee Evaluation\Evaluation- Working Document 202o:pdf                               HREV-101
                                   Non-Rep Employee Evaluation
    S.T.A.l.R.S. Approach                                                                                           ....s::
                                                                                                                     <1)

    Check appropriC!te rating column.
                                                                                                    ti)
                                                                                                     s::             E
                                                                                                           ti)       c.


           Exceeds                    Meets           Opportunity for
                                                                        Unsatisfactory (1)
                                                                                                   -
                                                                                                     0
                                                                                                   :;:::
                                                                                                    lU.
                                                                                                    u
                                                                                                    Q)
                                                                                                    c.
                                                                                                    ><
                                                                                                           -
                                                                                                           S::·
                                                                                                           ;2
                                                                                                           ~
                                                                                                           u
                                                                                                           Q)
                                                                                                            c.
                                                                                                                    0
                                                                                                                    Qj
                                                                                                                    >
                                                                                                                    <!)
                                                                                                                    0
                                                                                                                    ,_        ~
                                                                                                                               i!'
                                                                                                                              ....0u
                                                                                                                               ti)
      Expectations (4)            Expectations (3)    Development (2)                              .w
                                                                                                           w
                                                                                                            ><      .E        :;:::
                                                                                                                               lU

                                                                                                                    ·c:~
                                                                                                    ti)
         Consistently                                                                              -0
                                                                                                           .S!l
                                                                                                                               ti)
                                                                                                                               s::
                                                      Working toward       Not meet role            Cl>
       performs above             Competent in role                                                 <!)
                                                                                                    u
                                                                                                           Cl>
                                                                                                           Cl>       ::i      :;)
                                                       competency          requirements            ><      :s       t::
      role requirements                                                                            w                 0
                                                                                                                    c.
                                                                                                                    c.
                                                                                                                    0


     . Resource Management:
       Uses cit resources and work time wise! to avoid waste
       Quality of Work:
                                                                                                 [{]000
       Completed work is accurate, neat, well or anized, articulate, thorou h & effective        [ZJDOO
       Quantity of Work:
       Amount of Work roduced as com ared to uantit standards of the osition                     [{]ODD
    Comments:
    Todd understands the role and responsibility to upholding strong fiscal management in the city.




                                                          Innovation       Respect

            15               16                               16              12

                 I agree with this Evaluation.
    .
.
    D   .




                                                             Director Signature & Date


    Overall Comments:
Overall, I agree with Todd's self-evaluation. Todd is doing a
wonderful job as our city administrator. 2020 has been a
                                                                                                Score 3,0 - 4.0 = 2%
challenging year, but he has been able to tackle all our issues
head on. I do believe that Todd has taken on more work than                                    Score 2.5 - 3.0 = 1.75%
we all anticipated. However, he has adapted and making
plans to move forward to address all our issues.                                               Score 2.0 - 2.5    =1.50%
Keep up the. great work.                                                                    Score Below 1.99 = O to 1.25%




S:\All Users\Human Resources\Forms\Employee Evaluation\Evaluation,. Working Documerit2020;pdf                                 HREV-101
                         Non-Rep Employee Evaluation

Performance Goals: (attach additional documentation as necessary)
Exam les- form u dates, recess documentation, rocedure enhancements
1
    ·working with the Finance Dept, clean up our finance and accounting challenges. Lead a
     transition to Munis. Find and hire a Finance Director that can lead our dept forward.




2
 · Continue to fix issues in our HR Dept related to payroll, and benefits. Ensuring that we have a
    better practice at record retention and tracking.




Other:
Develop a plan and identify key areas to fill our business park and other areas throughout the city.




Development Goals: (attach additional.documentation as necessary)                      .
Examples- CPR Certification, Microsoft Office skills coursework, cross-training within department
1
    "Working with WCMA and ICMA for continued trainingsfor professional growth and
     development.




2
    · Focus on financial processes and practices, and working with CLA for the annual audit
    Understanding the issues from our past, and ensuring those areas are not over looked in the
    future.


Other:
Working on LEAN strategies with the LEAN team in the city




Coaching #1:   ~------------­                                   Coaching #3:   ~---------­
Coaching #2:                                                    Coaching #4: .
               '----~~~~----'                                                  ~--------~-'
-   ' :'$·




                                        Non-Rep Employee Evaluation.
             Employee Name: ~&t\,.           VVo({)
              Position Title:   6fy AdfYlc·n ,s+r4+6r
              Department:       Nl~,C,1 (stv~ittin
             S.T.A.l.R.S. Approach
             S.T.A.l.R.S. aligns with ttie City of Sheboygan's core values of service, teamwork,                       ~
                                                                                                                       s::
                                                                                                                       Cl>
             accountability, innovation, respect, and stewardship (fiscal responsibility).               ti)           E
                                                                                                         s::    ti)    Q.
                                                                                                         0      c:     0
              Check the appropriate rating column.                                                       E !
                                                                                                         (,)
                                                                                                                0
                                                                                                                       ~
                                                                                                                       Cl)
                                                                                                                                ~
                                                                                                                               .s
                                                                                                         Cl>    (,)    c        ~
                                                                                                         Q.     Cl>     ...    .....
                                                                                                         ~
                                                                                                               Q.               ti)
                                                                                                                ><
                                                                                                               IJJ
                                                                                                                       .E     .-,;;
                     Exceeds               Meets               Opportunity for                           ti)
                                                                                                                       ~
                                                                                                                                (!$.

                                                                                    Unsatisfactory (1)   "C    J!?.             U>
                Expectations (4)      ·Expectations (31        Development (2)                           Cl>           c        s::
                                                                                                                               :>
                   Consistently
                                                                                                         Cl>
                                                                                                         (,)
                                                                                                          ><
                                                                                                               Cl)
                                                                                                               Cl>
                                                                                                               :=.!:
                                                                                                                       s...
                                                               Working toward           Not meet role    IJJ            0
                 performs above       Competent in role                                                                Q.
                                                                competency              requirements                   Q.
                role requirements                                                                                      0




                Knowledge of Work:
                Familiari with job skills,
                Public Service Skills:
                Demonstrates Honesty, tact, courtesy, awareness of & sensitivity to customer
                needs
                Internal Service Skills:
                Demonstrates Honesty, tact, courtesy, awareness of & sensitivity to coworker
                needs
                                                                                                         0000
                Diversity:
                Treats all individuals fairly and respectfully, regardless of their values, beliefs,
                back round, osition, or status
                                                                                                         D D Iv-j D



                Collaboration: Works with and assists others to achieve departmental and
                or anizational oals and riorities
                Communication Skills: Articulate in expressing facts, ideas, & thoughts with clarity
                both orall and in writin
                Cooperation: Cooperates with coworkers to ensure alignment with departmental
                and or anizational oals




             S:\All Users\Human Resources\Forms\Employee Evaluation\Evaluation- Working Document2020.pdf                      HREV.,.101
                         Non-Rep Employee Evaluation
S.T.A.l.R.S. Approach                                                                                      ....c
                                                                                                           Q)
                                                                                            (I)
                                                                                            c              E
Check the appropriate rating column.                                                        0
                                                                                                  (I)
                                                                                                  c
                                                                                                           Q.
                                                                                                            0




                                                                                                           -.e -
                                                                                                  0                  ~
                                                                                            !
                                                                                            (,)
                                                                                                  ;
                                                                                                  s        ~Q)
                                                                                                                     0

                            Meets              Opportunity for
                                                                                            Q)    (,)      c        ....~
       Exceeds                                                      Unsatisfactory (1)
                                                                                            Q.
                                                                                            x
                                                                                                  Q)
                                                                                                  Q.                 (I)
  Expectations (4)      Expectations (3)       Development (2)                              w     ~                .~
     Consistently
                                                                                            (I)
                                                                                            "C    .{!?     a-       (I)
                                                                                                                    c
                                               Working toward          Not meet role        Q)             'E
   performs above       Competent in role                                                   Q)
                                                                                                      Q)
                                                                                                      Q)    :::s    ::>
                                                competency             requirements
                                                                                            ~     ~        ~
  role requirements                                                                                         0
                                                                                                            Q.
                                                                                                            Q.
                                                                                                           0


   Ownership:
   Responsible for the results of one's actions to ensure they are of the highest quality
   and are delivered in a time! manner
                                                                                            0000
   Meeting Work Commitments:
   Plans work, meets commitments & deadlines, achieves desired results
   Flexibility/Adaptability:
                                                                                            0000
   Responds and adapts to changing situations, policies, practices, stress, and
   emer encies
                                                                                            Dl\2100


  Constructive Feedback:
  Is open and receptive to personal feedback and uses suggestions to modify
  behavior when ap ro riate
                                                                                            D~DD
  Initiative:
  Self-motivated & makes effort to com lete work with minimal su ervision
  Problem Solving:
                                                                                            0DDD
  Generates efficient approaches to addressing problems and opportunities and
  makes sound decisions after reviewin all relevant information
                                                                                            G2lDDD
  Technology:
  Demonstrates ability to use technology effectively and productively and continually
  u dates skills and knowled e
Comments:




   Attendance:
   Punctual to work, to meetin s, and from breaks; does not abuse leave time                0000
   Attitude:
   Has "can-do" ap roach and strives to maintain an o timistic outlook                      0000
                                                                                            D~DO
   Safety Consciousness:
   Acts with ro er safe habits, maintains e ui ment, corrects unsafe conditions




S:\All Users\Human Resources\Forms\Employee Evaluation\Evaluation- Working Document 2020.pdf                       HREV-101
                             Non-Rep Employee Evaluation
 S.T.A.l.R.S. Approach                                                                                           C!
                                                                                                                 Cl)

 Check appropriate rating column.
                                                                                                  (/)
                                                                                                  c              E
                                                                                                  0
                                                                                                         Ill
                                                                                                         c       c.
                                                                                                                 0
                                                                                                 i....   0                ~
                                                                                                         it)     1       g


                                                                                                                 --
                                                                                                                 .
                                                                                                  (,)

        Exceeds                 Meets               Opportunity for
                                                                                                  Cl)
                                                                                                  c.     Cl)
                                                                                                                 c        ~.
                                                                      Unsatisfactory (1)                 c.
   Expectations (4)         Expectations (3)        Development (2)                              ~       ><      0        I ll
                                                                                                         w               iIll
      Consistently
    performs above
   role reauirements
                            Competent in role
                                                    Working toward
                                                     competency
                                                                        Not meet role
                                                                        requirements
                                                                                                  Ill
                                                                                                 "C
                                                                                                 Cl)
                                                                                                 Cl)
                                                                                                 (,)
                                                                                                 ><
                                                                                                 w
                                                                                                         -
                                                                                                         I/)
                                                                                                         Cl)
                                                                                                         Cl)
                                                                                                         ~
                                                                                                                 ~
                                                                                                                 ·2
                                                                                                                 :::i
                                                                                                                 t::
                                                                                                                  0
                                                                                                                  c.
                                                                                                                          c
                                                                                                                         =>
                                                                                                                  c.
                                                                                                                 0


     Resource Management:
     Uses ci resources and work time wise! to avoid waste
     Quality of Work:
     Com leted work is accurate, neat, well or anized, articulate, thorou h & effective
     Quantity of Work:
     Amount of work roduced as com ared to· uanti standards of the osition




   Service          Teamwork       Accountability       Innovation                      Stewardship

                                                                                            ~. 0

 D          I agree withthisEvali.1ation.

 D          l·dtl not agree with thisEvaluation:
            *Writtenexplanation·shouldbe attached
Initials:
            .....---=t--...
                                                           pitectorSignature & Date




                                                                                              Score 3.0 - 4.0 = 2%

                                                                                             Score 2.5 - 3.0   =1.75%
                                                                                             Score 2.0 - 2.5 = 1.50%

                                                                                          Score Below 1.99 = o to 1.25%




S:\All Users\Human Resources\Forms\Employee Evaluation\Evaluation- Working Document 2020.pdf                            HREV-101
                         Non-Rep Employee Evaluation

Performance Goals: {attach additional documentation as necessary)
Exam !es-form u dates, rocess documentation, rocedure enhancements
1.




2.




Development Goals: (attach additional documentation as necessary)
Exam les- CPR Certification, Microsoft Office skills coursework, cross-trainin
1.




2.




Other:




Coaching #1:
Coaching #2:
               ~---------"'4                                     Coaching #3:
                                                                 Coaching #4: ,_
                                                                                           ----.......i·1
                                                                                 ~---.......
                                                                              __..;.._---------'·
               '--....--------~
